                 UNITED STATES DISTRICT COURT
              WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
                        1:19-cv-00034-MR

ELI ALVAREZ,                )
                            )
               Plaintiff,   )
                            )
vs.                         )                   PROTECTIVE ORDER
                            )
                            )
                            )
FNU DAVIS, et al.,          )
                            )
               Defendants.  )
___________________________ )

      THIS MATTER is before the Court on a Consent Motion for Entry of

Protective Order by Defendants. [Doc. 30].

      Defendants request the Court to enter a protective order authorizing

and governing the production of confidential documents, material, and

information (“Confidential Information”). [Doc. 30]. Defendants relate that,

“[d]uring the course of this litigation, Defendants obtained and will continue

to obtain and disclose to Plaintiff or the Court, information in the possession

custody, or control of the North Carolina Department of Public Safety (“the

NCDPS”) that is Confidential Information by operation of federal and state

law….” [Doc. 30 at 1].




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      On review of Defendants’ motion, the Court finds that such information

may be deemed confidential under federal and state law, including inmate

records deemed confidential pursuant to N.C.G.S. §§ 148-74 and -76,

security information deemed confidential by N.C.G.S. 132-1.7, including

video recordings of DPS facilities, and may include information that is

confidential under 42 CFR 2.1, et seq., N.C.G.S. § 122C-52, and the federal

Health Insurance Portability and Accountability Act.

      Due to the confidential nature of much of the information that will be

produced in this matter, a protective order is necessary to authorize the

release of such confidential information and to ensure that such confidential

information is not disclosed or used for any purpose except in connection

with this litigation. Counsel for Plaintiff, appearing for the limited purpose of

conducting discovery in this matter, consents to the entry of a protective

order. [Doc. 30 at 1]. The Court will, therefore, grant Defendants’ request

for a protective order.

      The Motion [Doc. 30] is hereby GRANTED, and the Court enters the

following order.

      IT IS HEREBY ORDERED THAT:

      1. Scope of the Order. This Order applies to all information produced

by Defendants in response to Plaintiff’s discovery requests and thereafter in


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the course of the prosecution or defense of this action, provided that the

presiding judicial officer shall determine the procedure for presentation of

Confidential Information at pre-trial hearings and trial.

      2. Use of Confidential Information. All Confidential Information, as

defined in this Order, shall be used solely in the prosecution or defense of

this action including, but not limited to, mediation, other alternative dispute

resolution processes, any other settlement process, and all other pretrial,

trial, and post-trial proceedings in this action, and shall not be used or

disclosed by any person for any other purpose.

      3. Disclosure. “Disclose” or “disclosure” means to provide, impart,

transmit, transfer, convey, publish, or otherwise make available.

      4.   Confidential Information. “Confidential Information” consists of

“General Confidential Information” and “Attorneys’ Eyes Only Confidential

Information,” which are defined as follows:

      a. “General Confidential Information” means:

            1)    Any personnel files, as that term is defined in N.C.G.S. §

                  126-22(3), maintained by DPS, excluding personal

                  information as described in Paragraph 4(b)(1).

            2)    The medical and mental health records generated in the

                  treatment or handling of Plaintiff during his incarceration


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           within DPS which are deemed confidential by N.C.G.S. §§

           148-74 and -76.

     3)    Records generated in the housing and handling of the

           named Plaintiff during his incarceration within the DPS,

           including video recordings, which are deemed confidential

           by N.C.G.S. §§ 148-74 and -76.

     4)    Other information that is potentially embarrassing or

           invasive of the privacy of a person not a party to this

           litigation and therefore an appropriate subject of a

           protective order under Rule 26(c)(1) of the Rules of Civil

           Procedure.

     5)    Reports of, investigations into, and any findings regarding

           alleged incidents of sexual misconduct or use of force by

           Defendants against Plaintiff.

b. “Attorneys’ Eyes Only Confidential Information” means:

     1)    Personal information about current or former employees of

           DPS that is not related to the employee’s job performance

           or duties, such as social security numbers, home

           addresses and telephone numbers, insurance records or




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          designations, medical and/or disability information, and

          other purely private information.

    2)    The medical records of Defendants.

    3)    The personal financial records, telephone records, and e-

          mail records of Defendants.

    4)    Reports of, investigations into, and any findings regarding

          alleged incidents of sexual misconduct or use of force by

          current or former employees of DPS, other than

          Defendants, against Plaintiff.

    5)    Reports of, investigations into, and any findings regarding

          alleged incidents of sexual misconduct or use of force by

          Defendants against current or former inmates in the

          custody of DPS, other than Plaintiff.

    6)    The medical and mental health records generated in the

          treatment or handling of current or former inmates, other

          than Plaintiff, during their incarceration within DPS which

          are deemed confidential by N.C.G.S. §§ 122C-52, 148-74,

          and -76.

    7)    Records generated in the housing and handling of current

          or former inmates, other than Plaintiff, during their


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                 incarceration within the DPS, including video recordings,

                 which are deemed confidential by N.C.G.S. §§ 148-74 and

                 -76. This designation is not intended to cover Plaintiff’s

                 records that mention other inmates, which would only be

                 subject to the Confidential designation.

           8)    Highly sensitive security information as it relates to

                 investigations, security designations, staffing patterns and

                 logs, schematic or other drawings and diagrams, and other

                 sensitive   security        information   deemed   confidential

                 pursuant to N.C.G.S. § 132-1.7.

     5.     Disclosure of General Confidential Information. General

Confidential Information shall not be disclosed to anyone except:

     a.    The court and its personnel;

     b.    The parties to this action;

     c.    Counsel for the parties to this action and employees of said

           counsel;

     d.    Experts or consultants specifically retained by the parties or their

           attorneys to assist them in the preparation of this case or to serve

           as expert witnesses at the trial of this action, but only after




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            execution of a Confidentiality Agreement as provided in

            Paragraph 8; and

      e.    Court reporters or videographers engaged to record depositions,

            hearings, or the trial in this action.

      6.   Disclosure of Attorneys’ Eyes Only Confidential Information.

Attorneys’ Eyes Only Confidential Information shall not be disclosed to

anyone except:

      a.    The court and its personnel;

      b.    Counsel for the parties to this action and employees of said

            counsel;

      c.    Experts or consultants specifically retained by the parties or their

            attorneys to assist them in the preparation of this case or to serve

            as expert witnesses at the trial of this action, but only after

            execution of a Confidentiality Agreement as provided in

            Paragraph 8; and

      d.    Court reporters or videographers engaged to record depositions,

            hearings, or the trial in this action.

      7.    Withdrawal of Plaintiff’s Counsel. In the event that counsel for

Plaintiff withdraws from representation during the pendency of this litigation

and Plaintiff proceeds pro se, any Attorneys’ Eyes Only Confidential


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Information disclosed to counsel for Plaintiff may not thereafter be disclosed

to Plaintiff and shall instead be returned to defense counsel. The Court may

allow Plaintiff to view Attorneys’ Eyes Only Confidential Information only

upon a motion for good cause shown.

      8.   Confidentiality Agreements.     Before Confidential Information is

disclosed to any person described in Paragraphs 5(d), 6(c), or 7 of this Order,

counsel for the party disclosing the information shall inform the person to

whom the disclosure is to be made that Confidential Information shall be

used only for the purpose of the prosecution or defense of this action, and

shall obtain from the person to whom the disclosure is to be made a signed

confidentiality agreement in the form attached hereto as Exhibit A. Counsel

for the party disclosing the Confidential Information to said person shall

maintain the original Confidentiality Agreement and need not produce it

except by agreement of the parties or upon order of the court.

      9.   Designation of Confidential Information.     Information shall be

designated as Confidential Information in the following manner:

      a.    In the case of information reduced to paper form, the designation

            shall be made:

            (1)   by placing the appropriate legend, “CONFIDENTIAL –

                  SUBJECT TO PROTECTIVE ORDER” for General


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           Confidential      Information     or      “CONFIDENTIAL–

           ATTORNEYS’ EYES ONLY” for Attorneys’ Eyes Only

           Confidential Information, on each page containing such

           information or;

     (2)   by such other means as agreed to by the parties. The party

           disclosing the information shall designate the documents

           as confidential at or before the time of disclosure. A party

           may make the designation with respect to information

           disclosed by another party by a writing directed to the

           producing party’s counsel. The producing party’s counsel

           shall then be responsible for labeling the designated

           information as provided herein.

b.   Information on a computer disk, data tape, or other medium that

     has not been reduced to paper form shall be designated as

     General Confidential Information or Attorneys’ Eyes Only

     Confidential Information:

     (1)   by informing counsel for the parties to this action in writing

           that the computer disk, data tape, or other medium

           contains such Confidential Information and, where




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           applicable, specifying by Bates or other page number the

           particular information being designated or;

     (2)   by such other means as agreed to by the parties. To the

           extent practicable, such physical medium should also be

           labeled using the appropriate legend. Any party receiving

           Confidential Information designated under this Paragraph

           9(b) shall then be responsible for appropriately labeling any

           printed version(s) of such information that it creates.

c.   In the case of deposition testimony, any party may designate

     information   disclosed   during    a   deposition   as   General

     Confidential Information or Attorneys’ Eyes Only Confidential

     Information by either:

     (1)   identifying on the record at the deposition the information

           that is to be treated as Confidential Information or;

     (2)   marking the portions of the deposition transcript to be

           designated as Confidential Information within 21 days after

           receipt of the transcript. When the deponent and the

           attending parties do not agree to waive the reading,

           correcting, and signing of the transcript, all information

           disclosed during a deposition shall be treated as Attorneys’


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                  Eyes Only Confidential Information before the expiration of

                  the 21-day period unless otherwise agreed by the parties

                  and the deponent. If any deposition testimony or any

                  document or information used during the course of a

                  deposition is designated as Confidential Information, each

                  page of the deposition transcript containing such

                  information shall be labeled with the appropriate legend

                  specified in Paragraph 9(a), and the first page of the

                  deposition transcript shall be labeled in a manner that

                  makes it readily apparent that the transcript contains

                  Confidential Information.

      d.    Any other information that is not reduced to physical form or

            cannot be conveniently labeled shall be designated as

            Confidential Information by serving a written notification of such

            designation on counsel for the other parties. The notice shall,

            where applicable, specify by Bates or other page number the

            particular information being designated.

      10. Disputes over Designations. If any party objects to the designation

of any information as confidential, counsel for the objecting party and counsel

for the designating party shall attempt to resolve the disagreement on an


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informal basis. If the objection is not so resolved, the objecting party may

move the court for appropriate relief. The information in question shall

continue to be treated as confidential in accordance with the disputed

designation unless and until the court issues a final ruling that the information

does not qualify for such a designation. The nonfiling by the objecting party

of a motion for relief shall not be deemed an admission that the information

in question qualifies for the disputed designation.

      11. Inadvertent Disclosure of Confidential Information. Inadvertent

disclosure of Confidential Information, without identifying the same as

confidential, shall not be deemed a waiver of confidentiality with regard to

similar or related information nor shall it be deemed a waiver of confidentiality

with regard to the information inadvertently disclosed if promptly called to the

attention of counsel for each receiving party.

      12.   Filing of Confidential Information Under Seal. When filing a

document marked “Confidential Information” or “Attorneys’ Eyes Only”, the

filing party must comply with Local Civil Rule 6.1.

      13. Authors/Recipients. Except as specifically provided herein, this

Order shall not limit use by a party of its own Confidential Information, nor

shall this Order limit the ability of a party to disclose any document to its

author or to anyone identified on the face of the document as a recipient.


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      14. Return of Confidential Information. Following the conclusion of

this action, including any appeals, a party that produced Confidential

Information may request in writing its return by any other party. Within 60

days after service of such a request, any party that received the Confidential

Information shall either return it to counsel for the producing party or destroy

it, at the election of the receiving party; provided that the information shall

not be destroyed if otherwise ordered by the court or a motion for relief from

this Paragraph 14 is pending. If a receiving party elects to destroy the

Confidential Information rather than returning it to the producing party,

counsel for the receiving party shall provide to the producing party by the 60-

day deadline a signed certification that the Confidential Information has been

destroyed. This Paragraph shall not be construed to require the return or

destruction of any regularly-maintained litigation files held by the attorneys

of record or former attorneys of record for each party as archival records or

other attorney work-product created for any party.           Any Confidential

Information, or portions or excerpts thereof, which are not returned or

destroyed pursuant to this Paragraph shall remain subject to the terms of this

Order. The return of trial exhibits by the court shall be governed by Local

Civil Rule 79.1.




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      15. Admissibility of Information. Neither the terms of this Order nor the

disclosure or designation as confidential of any information pursuant to it

shall be deemed to establish or vitiate the admissibility under the Federal

Rules of Evidence of any information subject to this Order.

      16. Confidential Employee Information. Pursuant to N.C.G.S. § 126-

24(4), this Order authorizes the disclosure of confidential portions of the

personnel files maintained by the DPS-DAC of current or former employees

in accordance with the terms of this Order.

      17. Disposition of Protected Materials. Pursuant to the Court’s Case

Management Order, paragraph E, notwithstanding any other provisions in

this Protective Order, the ultimate disposition of protected materials are

subject to a final order of the Court on the completion of litigation.

      18. Modification. This Order is without prejudice to the right of any

party or witness to seek modification or amendment of the Order by motion

to the court, or to seek and obtain additional protection with respect to

Confidential Information as such party may consider appropriate.

      IT IS SO ORDERED.




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EXHIBIT A

CONFIDENTIALITY AGREEMENT

       I, _______________________, have read and am familiar with the

terms of the Protective Order governing the disclosure of confidential

information in the case of Eli Alvarez v. FNU Davis, et al., Case No. 1:19-cv-

00034-MR, United States District Court for the Western District of North

Carolina, and agree with the following:

       1.     To abide by all the terms of said Order and not to reveal or

otherwise communicate any of the information or documents disclosed to me

pursuant thereto to anyone except in accordance with the terms of said

Order.

       2.     To not make use of any information obtained, whether in

documentary or other form, pursuant to that Order other than for purposes

of this litigation.

       3.     Upon written request, to return to counsel of record or to destroy

no later than 60 days after the termination of this litigation any and all

documents in my possession containing information which is the subject of

said Order or disclosed to me pursuant to the Order (whether such

information is in the form of notes, memoranda, reports, or other written




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communications or documents prepared by any person at any time

containing information covered by the terms of said Order).

     4.    To submit myself to the jurisdiction of the foregoing court,

including its contempt power, for enforcement of said Order.

     This the ____ day of ____________________, 20____.



                                              _______________________
                                              PRINTED NAME

                                              _______________________
                                              SIGNATURE




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